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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-0652V
                                     Filed: March 14, 2017
                                          Unpublished

****************************
SARAH ETHERIDGE-CRISWELL,                *
                                         *
                     Petitioner,         *      Damages Decision Based on Proffer;
v.                                       *      Influenza (“Flu”) Vaccine; Shoulder
                                         *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                      *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                      *      (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Danielle A. Strait, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Ilene C. Albala, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

        On June 2, 2016, Sarah Etheridge-Criswell (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleged that she suffered an injury
to her left shoulder as a result of an influenza (“flu”) vaccine administered on December
14, 2014. The case was assigned to the Special Processing Unit (“SPU”) of the Office
of Special Masters.

        On October 18, 2016, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On March 13, 2017, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $120,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $120,000.00 in the form of a check payable to
petitioner, Sarah Etheridge-Criswell. This amount represents compensation for all
damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                      )
    SARAH ETHERIDGE-CRISWELL,                         )
                                                      )
                 Petitioner,                          )
                                                      )   No. 16-652V
    v.                                                )   Chief Special Master Dorsey
                                                      )   ECF
    SECRETARY OF HEALTH AND HUMAN                     )
    SERVICES,                                         )
                                                      )
                 Respondent.                          )
                                                      )


                        PROFFER ON AWARD OF COMPENSATION

I.       Items of Compensation

         On October 18, 2016, Chief Special Master Dorsey issued a Ruling on Entitlement

finding that petitioner was entitled to vaccine compensation. Based upon the evidence of record,

respondent proffers that petitioner should be awarded $120,000.00, which represents all elements

of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1

Petitioner agrees.

II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $120,000.00, in the form of a check payable to petitioner.

Petitioner agrees.

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
                                                  1
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                                   Respectfully submitted,

                                   CHAD A. READLER
                                   Acting Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
                                   Acting Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   MICHAEL P. MILMOE
                                   Senior Trial Counsel
                                   Torts Branch, Civil Division

                                   /s/ Ilene Albala
                                   ILENE ALBALA
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Dated: March 13, 2017




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